                                          Case 3:18-cv-01692-JCS Document 103 Filed 12/16/21 Page 1 of 1




                                   1

                                   2

                                   3

                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                        DEVIN COLE,
                                   7                                                       Case No. 18-cv-01692-JCS
                                                       Plaintiff.
                                   8
                                                v.                                         JUDGMENT IN A CIVIL CASE
                                   9
                                        SIERRA PACIFIC MORTGAGE                            Re: Dkt. No. 102
                                  10    COMPANY, INC.,
                                  11                   Defendant.

                                  12
Northern District of California
 United States District Court




                                  13          ( ) Jury Verdict. This action came before the Court for a trial by jury. The issues have

                                  14   been tried and the jury has rendered its verdict.

                                  15          ( X ) Decision by Court. This action came to trial or hearing before the Court. The issues

                                  16   have been tried or heard and a decision has been rendered.

                                  17          IT IS SO ORDERED AND ADJUDGED that judgment I entered in favor of Defendant

                                  18   Sierra Pacific Mortgage Company, Inc.

                                  19   Dated: December 16, 2021

                                  20                                                       Mark B. Busby, Clerk

                                  21
                                                                                           By:______________________
                                  22                                                             Karen L. Hom
                                  23                                                             Deputy Clerk

                                  24

                                  25

                                  26

                                  27

                                  28
